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Officer Camera Filename View Length

Donald Donald Appleman_2?0210118 06 _01_WFC1-

Appleman Camera 1 | 020883_Agency Assist_65054616-bwe BWC 32:29
Trooper Donald

Donald Appleman 20210118 06_00 C161871_ Agency

Appleman Camera il | Assist_419844849-dash Dash 34:29
Trooper Donald

Donald Appleman_2?0210118_06_00_C161871_Agency

Appleman Camera3 | Assist_419844849-cabin Interior 34:29
KALEB BULLOCK 20210113 _06_01_WFC1-

Kaleb Bullock Camera 1 | 017830_Agency Assist_71842920-bwe BWC 1:10:48
TROOPER KALEB
BULLOCK 20210118 06 00 _F19-6392_Agency

Kaleb Bullock Camera | Assist_10953862-dash Dash 1:12:04
TROOPER KALEB
BULLOCK_20210118 06 _00_F19-6392_Agency

Kaleb Bullock Camera 3 | Assist_10953862-cabin Interior 1:12:04
Toby Clifton_20210118 06 _O1_WFC1-

Toby Clifton Camera 1 | 058987_UNCATEGORIZED_114270943-bwe BWC 16:00
Trooper Toby Clifton_ 20210118 06 00 C17-

Toby Clifton Cameral | 2028 Agency Assist_57278788-dash Dash 23:29
Harkrider, Alex Body X78053688 2021-01-18

Andrew Mackey 071656 AMACKEY BWC 30:29
Harkrider, Alex Body X78053688 2021-01-18

Andrew Mackey 074658 AMACKEY BWC 18:02
Stone, Richard Body X78053688 2021-01-18

Andrew Mackey 063556 AMACKEY BWC 24:03

Total time: | 6.95 hours

